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                     Counsel Shall Provide a Chart of All Relevant Deadlines


                                              PLAINTIFFS'                DEFENDANTS'
                EVENT                          PROPOSED                   PROPOSED
                                               DEADLINE                   DEADLINE
  Rule 26(a)(l) Initial Disclosures                         August 11, 2023
  (11)
  Default Standard Paragraph 3 Initial                      August 11, 2023
  Disclosures (11)
  Plaintiffs to Identify Accused                            August 11 , 2023
  Product(s) and Produce the File
  History for Each Asserted Patent
  (13(a))
  Deadline for Joinder of Parties and    September 15, 2023          August 11, 2023
  Amendment or Supplement of
  Pleadings (12)
  Defendants to Produce Core                                August 18, 2023
  Technical Documents (13(b))
  Plaintiffs to Provide Initial          October 13, 2023            August 25, 2023
  Infringement Chart(s) (13(c))
  Plaintiffs to Narrow Asserted          October 13, 2023            August 25, 2023
  Claims to Thirty (30) From At Most
  12 Patents (13(c))
  Defendants to Provide Initial          November 13, 2023           September 22, 2023
  Invalidity Contentions (13(d))
  Defendants to Narrow Asserted          November 13, 2023           September 22, 2023
  Invalidity Theories to Five (5) Per
  Asserted Claim (13(d))
  Exchange of List of Claim Terms        November 22, 2023           October 6, 2023
  and Proposed Constructions (1 8)
  Respond to and Provide Proposed        December 6, 2023            October 20, 2023
  Constructions for Any Terms for
  which the Party Did Not Initially
  Provide a Construction (1 8)
  Joint Claim Construction Chart Due     December 8, 2023           October 27, 2023
  (18)
  Deadline to Submit Technology          January 10, 2024           November 3, 2023
  Tutorial (17)




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                                          PLAINTIFFS'       DEFENDANTS'
              EVENT                        PROPOSED          PROPOSED
                                           DEADLINE          DEADLINE       .
Interim Status Report on Discovery   January 17, 2024   December 15, 2023
(1 11)
Plaintiffs' Opening Claim            February 9, 2024   November 17, 2023
Construction Brief (19)
Substantial Completion of            March 1, 2024      December 8, 2023
Document Production (1 4(b))
Defendants' Answering Claim          March 1, 2024      December 13, 2023
Construction Brief (19)
Deadline to Request Leave to         March 1, 2024      December 13, 2023
Present Testimony at Claim
Construction Hearing and Inform
Court of Time Needed for Hearing
(110)
Plaintiffs' Reply Claim Construction March 22, 2024     January 3, 2024
Brief (19)
Defendants' Sur-Reply Claim          April 5, 2024      January 17, 2024
Construction Brief (19)
Filing of Joint Claim Construction   April 19, 2024     January 31, 2024
Brief (19)
Hearing on Claim Construction        ~ ~ t , 2024       Week of Febtuar~
(110)                                                   -~-A
                                                        ---
Plaintiffs to Provide Final          June 7, 2024       March 8, 2024
Infringement Contentions
(13(e), 112(a))
Plaintiffs to Narrow Asserted        June 7, 2024       March 8, 2024
Claims to 17 From At Most 10
Patents (13(e), 112(a))
Deadline for Plaintiffs to           June 7, 2024       March 8, 2024
Supplement Identification of All
Accused Products (13(e), 112(a))
Defendants to Provide Final          June 28, 2024      March 29, 2024
Invalidity Contentions (13(f))
Deadline for Defendants to           June 28, 2024      March 29, 2024
Supplement Invalidity References
(13(f), 112(b))




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                                                 PLAINTIFFS'              DEFENDANTS'
                 EVENT                            PROPOSED                 PROPOSED
                                                  DEADLINE                 DEADLINE          .
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Defendants to Narrow Asserted           .J:ene 28, 2,@4             MfH:"ll 29, :i!e~zt=-
Invalidity Theories to Four (4) Per
Asserted Claim (i[ 3(f))
Fact Discovery Cut-Off (i[ 4(a))         Aiigmt-l, 2024             April-26, 2924                 ftvt 1t- lb 12v"2-~
Opening Expert Reports for Party         August 16, 2024            May 10, 2024
Having Initial Burden of Proof
                                                                                                  fr\.):t _;+30 )u,z.,~
(i[ 4(f)(i))
Rebuttal Expert Reports (i[ 4(f)(i))     Septsmasi: 13, 2024         :ftme 9-, 2824-"             !c ph:Mk r~;kuf
Reply Expert Reports for Party          Beteber 4,--2024            -Am.@28, 2()24-
Having Initial Burden of Proof                                                                    Od}hcu- U I2V1.~
(i[ 4(f)(i))
Expert Discovery Cut-Off                 November 1, 2024           TI.ly 26, 202'1"              rJ
(14(f)(iii))
Plain.tiffs to Narrow Asserted          November 12, 2024           N/A                      .,


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Asserted
   ..
   .   .
         :Patent):'(,rA(f)(iv)) .
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 Plailitiffs .to Narrow .Asserted · .  : 'Nt1r                      Jwy26, 202+
·elm to ve#{lO) l<ro~.~t Most. '                                                                  tJ
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 Five '(5) -Pateilts
                . :·· -
                        (14(f)(iv:))
                          .' .
                                     .
Deadline to Seek Leave to File Case     November 12, 2024           NIA
                                          /
Disp·o~itive Motion(s) 'Yith the  .
Ootirt;(, 13) ·_
Deadline ~o .File Case .Dispositive     NIA-                       · :Attgast 9, :2024
                                                                                                  Q
Motion(s) {,I 13)
Deadline to Object to Expert            November 12, 2024           -A:Yg.iist 9, 2024            ·0c
Testimony (14(f)(ii))
Oppositions to Case Dispositive         -NtA:                       September 6, 2024
Motion(s) and Objections to Expert
                                                                                                  Jc
Testimony (fl 4(f)(ii), 13)
Replies in Support of Case              "NfA-                       ScptcmeeF :29, 29:24-
Dispositive Motion(s) and                                                                         ~
Objections to Expert Testimony
(fl 4(f)(ii), 13)
Deadline to Exchange Motion(s) in                          November 18, 2024
Limine (i[ 15)
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                                         PLAINTIFFS'                       DEFENDANTS'
              EVENT                       PROPOSED                          PROPOSED
                                          DEADLINE                          DEADLINE                                 .
Deadline to Exchange Oppositions                           December 9, 2024
to Motion(s) in Limine (115)
Deadline to Exchange Replies in                        December 23, 2024
Support of Motion(s) in Limine
(115)
Deadline to File Joint Proposed                .q. days before pretrial GOB:fet:eaee
Final Pretrial Order (116)
                                                                    TTT    ,
Pretrial Conference (116)          lieeft!f:11'Y _, io2s            ~T    ---   -   -
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Trial (120)                        Nu earlier thfm. FebrY.aey       Febmary 3, iei!~ er as
                                   3, 202~ -                        soon thereafter as
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